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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 22-60028-CR-DIMITROULEAS/SNOW

  UNITED STATES OF AMERICA

  v.

  LUKE JOSELIN,

        Defendant.
  __________________________________/

                           UNITED STATES OF AMERICA’S WITNESS LIST

       PRESIDING JUDGE                              GOVERNMENT ATTORNEYS       DEFENDANT’S ATTORNEY

                                                    Kiran Bhat
       Hon. William P. Dimitrouleas                                            Dameka Davis
                                                    Michael Homer
       TRIAL DATE                                   COURT REPORTER             COURTROOM DEPUTY

       August 15, 2022                              Gizella Baan-Proulx        Crystal Barnes-Butler
       GOV. NO.     DEF. NO.    DATE OF TESTIMONY   DESCRIPTION OF WITNESSES


          1                                         Margarette Cesar
          2                                         T.D.
          3                                         Steven Dickson
          4                                         Althea Harris
          5                                         Renaldo Harrison
          6                                         Judlex Jean Louis
          7                                         Valerie Martin
          8                                         Ricardo Pena
          9                                         Gil Rosenthal
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on August 8, 2022, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF.


                                                  /s/ Kiran N. Bhat
                                                  Kiran N. Bhat
                                                  Assistant United States Attorney
